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EXHIBIT F
Case 2:14-cv-11916-GCS-SDD ECF No. 76-7, PagelD.2468 Filed 03/24/16 Page 2 of 2

Hood, Jill

From: Bork, Fiona

Sent; Wednesday, March 05, 2014 9:53 AM
To: Hood, Jill

Subject: FW: LUNCH TODAY

Fiona Bark

Laboratory Sales Manager
Outreach Laboratory Services
Heriry Ford Medical Laboratoriés.
‘Call: 248.372.1300

Fax: 313.916.9143:

Fram: Reeser, Natalie

Sént: Tuesday, February 25, 20141512PM:
To: Bork, Fiona; Hajjar;, Luain; Wiseheart, Martha:
SubjectsLUNCH TODAY

TAM VERY UPSET AND'AM PUTTING A NOTE ON THE DOOR AND-TAKING.A 30 MINUTE:LUNCH TODAY:

Natalie K. Reeser

Pathology'& Laboratory Medicine _
248-721~7099 Cell & 58 6-228-2774 Office
Henry Ford Medical Laboratories:

Out Reach Lab Service

nreeserl @hfhs.org

HFH116
